Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 1 of 9 PageID #: 18559




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


 YODLEE, INC.,

                            Plaintiff,

            v.                                                   Civil Action No. 14-1445-LPS-CJB

 PLAID TECHNOLOGIES INC.,

                            Defendant.

                                         ·MEMORANDUM ORDER

      . At Wilmington this 27th day of January, 2017:

        1.        _This is a patent infringement case. ·On December 1, 2014, plaintiff Y odlee, Inc.

("Yodlee") filed a complaint alleging infringement of U.S. Patent Nos~ 6,199,077 (the "'077

patent"),    6,317~783   (the "'783 patent"), 6,510,451 (the "'451 patent"), 7,263,548 (the "'548

patent"), 7,424,520 (the "'520 patent"), 7,752,535 (the "'535 patent"), and 8,266;515 (the "'515

patent").

       2.         On January 23, 2015, defendant Plaid Technologies, Inc. ("Plaid") moved to

dismiss under Federal Rule of Civil Procedure ("Rule(s")) 12(b)(6). (D.I. 11) Plaid contends

that all ofthe asserted claims are directed to patent-ineligible subject matter. Plaid's motion to

dismiss was referred to United States Magistrate Judge Christopher J. Burke for a report and

recommendation. (See generally D .I. 7)

       3.         On May 23, 2016, Judge Burke issued a 65-page Report and Recommendation,

concludingthat Plaid's motion to dismiss should be granted in part and denied in part. (See D.I.

185 ("R&R")) The parties filed their objections to the R&R on June 9,.2016 (see D.I. 198, 199),

and their responses on June 27, 2016 (see D.I. 210, 211).
Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 2 of 9 PageID #: 18560




       4.      On October 12, 2016, Plaid filed a motion for summary judgment. (D.I. 264)

Among other requested relief, Plaid seeks judgment of patent ineligibility wi~h respect to. all

asserted claims of the seven patents in suit. (See D.I. 265 at 3-18) 1

       5.      Evaluating a motion to dismiss under Rule l 2(b)(6) requires the Court tb accept as

true all material allegations of the complaint. See Spru(ll v. Gillis, 372 F.3d 218, 223 (3d Cir.

2004). The Court may grant such a motionto dismiss only if, after·"accepting all well-pleaded

allegations in the complaint as true, and viewing them in the light most favorable to plaintiff,

plaintiff is not entitled to relief." Maio v. Aetna, Inc., 221 F.3d 472, 482 (3d Cir. 2000) (internal

quotation marks omitted).

       6.      Summary judgment is appropriate if "there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter oflaw." Rule 56(a). The

moving party bears the burden of demonstrating the absence of a genuine issue of material fact.

See Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986).

       7~      Pursuant to 35 U.S.C. § 101, "[w]hoever invents or discovers any new and useful

process, machine, manufacture, or composition of matter, or any new and-useful improvement

thereof, may obtain a patent therefor." There are three exceptions to§ 101 's broad patent-

eligibility principles: "laws of nature, physical phenomena, and abstract ideas." Diamond v.

Chakrabarty, 447 U.S. 303, 309 (1980). Relevant here is the third category, "abstract ideas,"

which "embodies the longstanding rule that an idea of itself is not patentable." Alice Corp. Pty.

Ltd. v. CLS Bank Int'!, 134 S. Ct. 2347, 2355 (2014) (internal quotation marks omitted). In



       1
      _The Court will address the remainder of the issues presented in Plaid's motion for
summary judgment at a later time, in one or more separate opinions and/or orders.

                                                  2
Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 3 of 9 PageID #: 18561




Mayo Collaborative Services v. Prometheus Laboratories, Inc., 132 S. Ct. 1289 (2012), the

Supreme Court set out a two-step "frameworkfor distinguishing patents that claim· laws of·

nature, natural phenomena, and abstract ideas from those that claii;n patent-eligible applications

of those concepts." Alice, 134 S. Ct. at 2355. First, courts must determine if the claims at issue

are directed at a patent-ineligible concept- in this case, an abstract idea ("step l"). See id. If so,

the next step is to look for an "'inventive concept' - i.e., an element or combination of elements

that is sufficient to ensure that the patent in practice amounts to significantly more than a patent

upon the [ineligible concept] itself' ("step 2"). Id. The two steps are "plainly related" and

"involve overlapping scrutiny of the content of the claims." Elec. Power Grp., LLC v. Alstom

S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016).

       8.      The Court has carefully reviewed the R&R and all rele~ant filings and has

evaluated Plaid's motion to dismiss de novo. See Masimo Corp. v. Philips Elec. N Am. ·corp.,

62 F. Supp. 3d 368, 379 (D. Del. 2014); 28 U.S.C. § 636(b)(l); Rule 72(b)(3). For the reasons

given in Judge Burke's detailed§ 101 analysis and further explained below, IT IS HEREBY

ORDERED THAT:

              · (a)    both parties' objections to the R&R (see D.l. 198, 199) are

                       OVERRULED;

               (b)     the R&R (D.I. 185) is ADOPTED in full; and

               (c)     Plaid's motion to dismiss (D.I. 11) is GRANTED in part and DENIED in

                       part.

       9.      Plaid's motion for summary judgment as it relates to ineligibility (D.I. 264; see

D.I. 265 at 3-18) is GRANTED in part, DENIED in part, and DENIED AS MOOT in part.


                                                  3
 Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 4 of 9 PageID #: 18562




        10.    As an initial matter, the Court is unpersuaded by Plaid'.s argument that Judge

. Burke incorrectly interpreted and applied Enjish, LLC v. Mtcrosoft Corporation, 822F.3d 1327

(Fed. Cir. 2016). (See generally D.I. 199 at 5-12) The Court does not read the R&R to "require .

every important aspect of the claim to be captured in the asserted abstract idea," as Plaid

suggests. (D.I. 199 at 5 (internal quotation marks omitted)) Rather, Judge Burke's analysis

properly considered, for example, "the key concept in the claim" and the "rationale for the

invention" underlying the '783 patent. (R&R at 27 (emphasis added)) An invention's

underlying motivation (as incorporated by and expressed in the claim language) is an important .

factor in the step 1 analysis of whether a claim is "directed to an improvement to computer

functionality:" Enjish, 822 F.3d at 1335.
                                         -
        11.     '077 patent. The Court agrees with Judge Burke's analysis and.recommendation

that Plaid's motion to dismiss be denied as to claim 7 of the '077 patent. (See R&R at 10-24)

With respect to Y odlee' s contention that Judge Burke should have found the claim patent eligible

based on Mayo step 1 alone (see D.I. 198 at 2-5), and Plaid's related objection to the R&R's

omission of a firm step 1 conclusion (see D.I. 199 at 8), the Court finds no error in the R&R's

reliance on the step 2 "inventive concept" analysis as the basis to resolve the issue of daim 7' s

eligibility. 2 The Court also overrules Plaid's objection as it pertains to the R&R's step 2 analysis

of the same claim. The Court is not persuaded by Plaid's assertion that the '"site-specific script'

·element adds nothing more than the general-idea of having some script ... for each site." (D.I.



        2
         The Court disagrees with Plaid's assertion that the R&R inappropriately "stop[ped] short
of considering whether the concept to which it finds the '077 patent to actually be directed ... is
abstract." (D.I. 199 at 8) The Court further finds Plaid's similar objections with respect to the
R&R's analysis of the '783, '535, and '515 patents unavailing.

                                                  4
 Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 5 of 9 PageID #: 18563




 199 at 9 (emphasis omitted)) Although the claim language at issue in DDR Holdings, LLC v.

 Hotels.com, L.P., 773 F.3d 1245 (Fed. Cir. 2014), was more detailed than the language at issue

 here, Plaid's objection does not account fully for this site-specific script's operation by

 "extract[ion of] data values ... based on the site's logic and structure," upon which the R&R

 relied. (D.I. 96 at 14; see R&R at 20, 23 n.13)

        Nor does the record developed in connection with the summaryjudgment motion warrant

 a different result. Even assuming Plaid has shown the claim is directed to an abstract idea at step

 1, the record reflects a genuine ·factual dispute over whether the software gathering agent as

· construed was "well-understood, routine, [or] conventional" at the time of the invention.

 Bascom Glob. Internet Servs., Inc. v. AT&T MobilityLLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016)

-(internal quotation marks omitted). The Court is unconvinced by Plaid's attempt to brush this

 difference aside as immaterial. (See D.I. 300 at 2-3)

        Therefore, Plaid's Rule 12(b)(6) and Rule 56 challenges to the asserted '077 patent

 claims' § 101 eligibility are both DENIED.

         12.    '783 patent. The Court agrees with Judge Burke's analysis and recommendation

 that Plaid's motion to dismiss be denied with respect to claim 1 of the '783 patent. (See R&R at

 24-33) First, the Court agrees with the R&R's conclusion that Plaid failed to carry its burden at

 step 1 because its proposed abstract idea ("retrieving and storing personal information from

 multiple sources") failed to capture a key concept of the claim. (See, e.g., R&R at 28 ("[T]he

 claim ... is directed to a method of retrieving a particular type of personal information: that

 which would otherwise be blocked off behind a wall of security, such that verification of one's

 identity was necessary to access it.")) Second, the Court finds no error in the R&R's step 2


                                                   5
 Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 6 of 9 PageID #: 18564




 conclusion or its reliance on DDR Holdings in reaching that condusion.

           ·In addition, as with the '-077 patent, the summary judgment record does not compel a

 different outcome. Plaid has not shown lack of a genuine, material factual dispute over whether

 the asserted claims' limitations, "taken together as· an ordered combination, ... recite an

· invention that [was] not merely the routine or conventional use of the Internet." DDR Holdings,

 773 F.3d at 1259. It remains a close question whether claim 1 sufficiently "speciflies] how" the

 inventive outcome is achieved, id. at 1258; a reasonable juror.could find for either side on this

 dispute. Even Plaid's expert, Dr. Mowry, opined that the claim's use of a "protocol" (or a

 "software script" under the Court's construction) is "nearly inherent." (D.I. 266-2 at 117of259

 if 272)   See generally Intellectual Ventures L LLC v. Motorola Mobility LLC, 81 F. Supp. 3d 356,

 369 (D. Del. 2015) ("Even though claim 1 itself does not provide a detailed explanation of how

 packet headers are used to allocate the bandwidth, the inventive concept lies in the limitation of

 using packet headers to allocate bandwidth, not in the details of implementation.").

           Plaid's Rule 12(b)(6) and Rule 56 challenges to the§ 101 eligibility of the asserted claims

 of the '783 patent are both DENIED.

           13.     '451 patent. The Court agrees with Judge Burke's analysis and recommendation

 that Plaid's motion to dismiss be granted as to the sole asserted claim of the '451 patent. (See

 R&R at 33-44, 64) The Court is unpersuaded by Yodlee's assertion that Plaid's proffered

 abstract idea is "untethered from explicit claim elements." (D.I. 198 at 6) For the reasons

 outlined in the R&R, the Court is also unpersuaded by Y odlee' s argument that claim 8 of the

 '451 patent meets the specificity standards set out in DDR Holdings and other relevant cases.

 While preemption is an underlying "concern that drives the exclusionary principle," Alice, 134 S.


                                                    6
Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 7 of 9 PageID #: 18565




Ct. at 2354, Yodlee's contention that the R&R "did not properly consider" the issue is unavailing

(D.I. 198 at 8). See generally Ariosa Diagnostics, Inc. v. Sequenom, Inc., 788 F.3d 1371, 1379

(Fed. Cir. 2015), cert. denied, 136 S. Ct. 2511 (2016) ("Where a patent's claims are deemed only

·to disclose patent ineligible subject matter under the Mayo framework ... preemption concerns

are fully addressed and made moot.").

       For at least these reasons, as to the§ 101 subject matter eligibility of claim 8 of the '451

patent, Plaid's motion to dismiss is GRANTED and its summary judgment motion is DENIED

AS MOOT.

       14.      '548 and '520 patents. For at least the reasons given in the R&R, the Court

agrees with Judge Burke's recommendation that Plaid's motion to dismiss be granted as to claim

20 of the '548 patent (see R&R at 44-54, 64), and overrules Yodlee's objections (which bear

similarities to its objections relating to the '451 patent, which the Court has also overruled). 3

Accordingly, as to claim 20 of the '548 patent, Plaid's motion to dismiss is GRANTED and its

motion for summary judgment of ineligibility is DENIED AS MOOT.

       Dependent claims 36 of the '548 patent and 38 of the '520 patent4 add aggregation and

synchronization limitations to the independent claims from which they depend. The patents'



       3
         The Court overrules Plaid's objection to the R&R's refusal to address the eligibility of
claims 36 of the '548 patent and 38 of the '520 patent. (See D.l. 199 at 3-5) As the R&R noted,
the briefing on Plaid's motion to dismiss contained little substantive analysis addressing the
additional limitations appearing in these dependent claims. (See R&R at 64)
       4
        The R&R also found claim 21 of the '520 patent ineligible. However, as ofYodlee's ·
March 4; 2016 Election of Asserted Claims (see D.I. 153-2 at 146-48of149), that claim was no
longer asserted. (See also D.I. 265 at 14 ("Yodlee asserts independent method claim 20 of the·
'548 Patent, along with dependent claims 36 of the '548 Patent and 38 of the '520 patent."))
Therefore, the Court need not determine the patent eligibility of claim 21.

                                                   7
Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 8 of 9 PageID #: 18566




specifications disclose the possibility of a "synchronization service" using an "algorithm enabled

to adaptively minimize round trip messages" by computing Cyclic Redundancy Check codes.

(E.g., '548 patent at 4:19-34) But the claims themselves are not so limited. Like the independent

claims from which they depend, the asserted dependent claims use "broad, functional language"

and remain largely "focused on the idea of translating data into a new form" while providing

little guidance as to "how that translation must occur." (R&R at 51 (emphasis omitted)) The

Court, therefore, finds that claim 36 of the '548 patent and claim 38 of the '520 patent are

directed to an abstract idea under step 1.

       The difficult question at step 2 is whether the aggregation and synchronization limitations

describe something more than a "procedure or structure common to every means of

accomplishing a given result." Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 841F.3d1288,

1311 (Fed. Cir. 2016). On this point, Plaid has not met its burden of showing that the

synchronization limitations are not inventive (due to inherency). See generally id. While Plaid

makes a strong showing, the Court cannot conclude at this point that no reasonable juror could

find against Plaid on this (and potentially other) disputes.

       Accordingly, Plaid's motion for summary judgment of ineligibility of claim 36 of the

'548 patent and claim 38 of the '520 patent is DENIED.

       15.      '535 and '515 patents. The Court agrees with Judge Burke's analysis and

recommendation that Plaid's motion to dismiss be denied as to claim 6 of the '535 patent and

claim 7 of the '515 patent. (See R&R at 54-63) Specifically, the Court agrees with the R&R's

conclusion that Plaid failed to meet its burden at step 1 because its proposed abstract idea fails to

capture key aspects of the claims. (See R&R at 61)


                                                  8
Case 1:14-cv-01445-LPS Document 332 Filed 01/27/17 Page 9 of 9 PageID #: 18567




       The factual record and more developed arguments presented to the Court at the summary .

judgment stage do not merit a different result. Instead, the Court agrees with Yodlee that Plaid's

alternative formulation 5 is not abstract. The claims are directed tobuilding upon-the '077

patent's claimed technological improvement through a transaction categorization system that

shows probabilistic growth and improvement. As Judge Burke observed, it is difficult to identify

a real-world analogue to the claimed subject matter, particularly when the limitations are

considered in combination, which supports a conclusion that the claims are not patent ineligible.

(SeeR&R at 61)

       Plaid's Rule 12(b)(6) and Rule 56 challenges to the asserted '-535 and '515 patent claims'

§ 101 subject matter eligibility are DENIED.




                                                     HON. LEONARD P. STXRK
                                                     UNITED STATES DISTRICT COURT




        5"[I]n the alternative, the '535.and '515 Patents are directed to the abstract idea of
categorizing and summarizing past transactions, and using past transaction information to predict
future transactions, wherein the categorization system grows and improves its ability to do its
job, based on the consistent incorporation of new information." (D.I. 265 at 16-17 (emphasis
omitted))

                                                9
